                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:15-cr-16-HSM-SKL
 v.                                                    )
                                                       )
 JESSE ASHWORTH                                        )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 2, 2015.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the seven-count

 Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to distribute 50 grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance in violation of 21 U.S.C.

 §§ 846, 841(a)(1), and 841(b)(1)(B) in exchange for the undertakings made by the government in

 the written plea agreement. On the basis of the record made at the hearing, I find the defendant is

 fully capable and competent to enter an informed plea; the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; the defendant

 understands the nature of the charge and penalties provided by law; and the plea has a sufficient

 basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

 Count One of the Indictment, that is of conspiracy to distribute 50 grams or more of a mixture and

 substance containing a detectable amount of methamphetamine, a Schedule II controlled substance

 in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) be accepted, the Court adjudicate



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 defendant guilty of the lesser included offense of the charge in Count One of the Indictment,that is

 of conspiracy to distribute 50 grams or more of a mixture and substance containing a detectable

 amount of methamphetamine, a Schedule II controlled substance in violation of 21 U.S.C. §§ 846,

 841(a)(1), and 841(b)(1)(B), and a decision on whether to accept the plea agreement be deferred

 until sentencing. I further RECOMMEND defendant remain in custody until sentencing in this

 matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.


                                                s/ fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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